UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE GREGORY W. CARMAN, CHIEF JUDGE

 

 

)
THE MEAD CORPORATION, )
)
Plaintiff, )
) Court No. 95-12-01783
v. ) |

)

THE UNITED STATES, ) Test Case
)
Defendant. )
)

JUDGMENT ORDER

Based upon the decision of the United States Court of Appeals for the Federal
Circuit in The Mead Corporation v. United States, 283 F.3d 1342 (2002), which held that
plaintiff's day planner model numbers 47062, 47102, 47104, 47124, and 47192 are
properly classifiable under HTSUS subheading 4820.10.40, duty free, it is hereby

ORDERED, ADJUDGED and DECREED that the U.S. Customs Service shall
reliquidate the entries embraced by this test case in accordance with the above-cited
Court of Appeals decision, and it is further

ORDERED, ADJUDGED AND DECREED that all refunds shall be payable with

interest as provided by law.

/S/___ Gregory W. Carman
Chief Judge

Dated: he 3 Zor

New’ York, New York
NOTICE OF ENTRY AND SERVICE

This is a notice that an order or judgment was entered in the docket of
this action, and was served upon the parties on the date shown ‘below.

Service was made by desesiting a copy of this order -or judgment, together
with any papers required by USCIT Rule 79(c), in a securely closed endorsed
penalty cover in a United States mail receptacle at One Federal-Plaza, New
York, New York 10007 and addressed to the attorney of record for each party
at the address on the official docket in this action, except that service
upon the United States was made by personally delivering a copy to the
Attorney-In-Charge, International Trade Field Office, Civil Division, United
States Department of Justice, 26 Federal Plaza, New York, New York 10278 or

to a clerical. employee designated, by the Attorney-In-Charge in a writing
filed with the clerk of the court.

Leo M. Gordon
Clerk of the Court

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"Deputy Clerk

 
